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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Valentino Dimitrov, individually, and on behalf of
all others similarly situated;

Plaintiff,
Vv.

Stavatti Aerospace. Ltd, a Minnesota corporation;
Stavatti Aerospace Ltd, a Wyoming corporation;
Stavatti Corporation, a Minnesota corporation;
Stavatti Immobileare. Ltd. A Wyoming
corporation; Stavatti Niagara, Ltd. A New York
corporation; Stavatti Super Fulcrum, Ltd, a
Wyoming corporation; Stavatti Ukraine, a
Ukrainien business entity; Stavatti Heavy
Industries Ltd. a Hawaii corporation; Christopher
Beskar and Maja Beskar, husband and wife; Brian
Colvin and Corrina Colvin, husband and wife;
John Simon and Jean Simon husband and wife ;
William Mcewen and Patricia Mcewen, Husband
and wife; Rudy Chacon and Jane Doe Chacon.
Husband and wife; and DOES 1-10, inclusive

Defendants.

Case No. CV-23-00226-PHX-
DJH

ORDER SETTING ASIDE
ENTRY OF DEFAULT AS TO
ALL THE CORPORATE
DEFENDANTS, THE
BESKARS, THE SIMONS,
AND THE MCEWENS

Based upon Motion to Set Aside Entry of Default as to the corporate defendants, the Beskars, the

Simons and the Mcewens and good cause appearing:

IT IS ORDERED that the entry of defaults against the corporate defendants, the Beskars, the

Simons and the Mcewens is granted.

IT IS FURTHER ORDERED that the above referenced defendants shall answer or other response
to the complaint within fourteen days from the entry of this order

